            Case 1:14-vv-00365-UNJ Document 24 Filed 02/06/15 Page 1 of 7




                 In the United States Court of Federal Claims
                                     OFFICE OF SPECIAL MASTERS
                                              No. 14-365V
                                          (Not to be published)

*****************************
                            *
CATHY ERDMANN,              *                                             Filed: January 13, 2015
                            *
               Petitioner,  *
                            *                                             Decision by Stipulation; Damages;
          v.                *                                             Attorneys’ Fees and Costs;
                            *                                             Influenza (“Flu”) Vaccine;
SECRETARY OF HEALTH AND     *                                             Guillain-Barré Syndrome
HUMAN SERVICES,             *                                             (“GBS”)
                            *
               Respondent.  *
                            *
*****************************

Mark L. Krueger, Krueger & Hernandez, S.C., Baraboo, WI, for Petitioner.

Lindsay Corliss, U.S. Dep’t of Justice, Washington, DC, for Respondent.

      DECISION AWARDING DAMAGES AND ATTORNEYS’ FEES AND COSTS1

        On April 30, 2014, Cathy Erdmann filed a petition seeking compensation under the
National Vaccine Injury Compensation Program.2 Petitioner alleges that as a result of receiving
the influenza (“flu”) vaccine on September 24, 2013 she suffered from Guillain-Barré syndrome
(“GBS”) and that she experienced the residual effects of this injury for more than six months.

       Respondent denies that the flu vaccine is the cause of Petitioner’s alleged GBS, and/or
any other injury, or her current condition. Nonetheless both parties, while maintaining their

1
  Because this decision contains a reasoned explanation for my action in this case, it will be posted on the website of
the United States Court of Federal Claims, in accordance with the E-Government Act of 2002, Pub. L. No. 107-347,
§ 205, 116 Stat. 2899, 2913 (codified as amended at 44 U.S.C. § 3501 note (2006)). As provided by 42 U.S.C. §
300aa-12(d)(4)(B), however, the parties may object to the inclusion of certain kinds of confidential information. To
do so, Vaccine Rule 18(b) provides that each party has 14 days within which to request redaction “of any
information furnished by that party: (1) that is a trade secret or commercial or financial in substance and is
privileged or confidential; or (2) that includes medical files or similar files, the disclosure of which would constitute
a clearly unwarranted invasion of privacy.” Vaccine Rule 18(b). Otherwise, the decision will be available to the
public. Id.
2
  The National Vaccine Injury Compensation Program comprises Part 2 of the National Childhood Vaccine Injury
Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755 (codified as amended, 42 U.S.C.A. ' 300aa-10 – 34 (2006))
[hereinafter “Vaccine Act” or “the Act”]. Individual sections references hereafter will be to ' 300aa of the Act.
           Case 1:14-vv-00365-UNJ Document 24 Filed 02/06/15 Page 2 of 7



above-stated positions, agreed in a stipulation (filed January 13, 2015) that the issues before
them can be settled and that a decision should be entered awarding Petitioner compensation.

       In a separate stipulation (filed on December 22, 2014), the parties indicated that they had
reached an agreement regarding attorneys’ fees and costs. The stipulation laid out the amount of
compensation that should be awarded to Petitioner’s attorney in the form of a check made
payable jointly to Petitioner and Petitioner’s counsel. In compliance with General Order #9, it
also indicated that no out-of-pocket litigation related costs had been incurred by Petitioner in
proceeding on the petition.

        I have reviewed the file, and based upon that review, I conclude that the parties’
stipulations are reasonable. I therefore adopt them as my decision in awarding damages, and
attorneys’ fees and costs, on the terms set forth therein.

        The stipulations award:

                A lump sum of $285,000.00 in the form of a check payable to Petitioner. The
                 amount represents compensation for all damages that would be available under
                 42 U.S.C. § 300aa-15(a). Stipulation (ECF No. 19) ¶ 8.

                A lump sum of $17,036.83 in the form of a check payable jointly to Petitioner
                 and Petitioner’s attorney, for attorneys’ fees and costs available under 42 U.S.C.
                 § 300aa-15(e). Stipulation of Facts Concerning Final Attorneys’ Fees and Costs
                 (ECF No. 16) ¶ 2.

        I approve a Vaccine Program award in the requested amounts set forth above to be made
to Petitioner. In the absence of a motion for review filed pursuant to RCFC Appendix B, the
clerk of the court is directed to enter judgment herewith.3


        IT IS SO ORDERED.

                                                                /s/ Brian H. Corcoran
                                                                   Brian H. Corcoran
                                                                   Special Master




3
  Pursuant to Vaccine Rule 11(a), the parties may expedite entry of judgment by each filing (either jointly or
separately) a notice renouncing their right to seek review.

                                                      2
Case 1:14-vv-00365-UNJ Document 24 Filed 02/06/15 Page 3 of 7
Case 1:14-vv-00365-UNJ Document 24 Filed 02/06/15 Page 4 of 7
Case 1:14-vv-00365-UNJ Document 24 Filed 02/06/15 Page 5 of 7
Case 1:14-vv-00365-UNJ Document 24 Filed 02/06/15 Page 6 of 7
Case 1:14-vv-00365-UNJ Document 24 Filed 02/06/15 Page 7 of 7
